  Case 1:04-cv-00152-DNH-RFT         Document 104      Filed 01/25/08    Page 1 of 1




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
--------------------------------

PHILLIP LEWIS,
                                  Plaintiff,

             -v-                                                 1:04 -CV-152

CITY OF ALBANY POLICE DEPARTMENT
and WILLIAM BONNANI,

                                  Defendants.

--------------------------------

DAVID N. HURD
United States District Judge

                                           ORDER

         Pursuant to the oral decision of the Court, entered into the record after hearing oral

argument on January 25, 2008, in Albany, New York, it is hereby

         ORDERED that defendant's motion to bifurcate the trial is DENIED.

         IT IS SO ORDERED.




Dated: January 25, 2008
       Utica, New York.
